CaSe 2:O4-cV-O2605-.]DB-tmp Document 16 Filed 06/15/05 Page 1 of 2 Page|D 20

UNITED STATES DISTRICT COURT _
WESTERN DISTRICT OF TENNESSEE FH£D U{~1 im§lC.

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JAMES ADAMS, §§§{E§T f o "i‘H-ol.:o
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v. civ. No. 04-2605-B/P

PATRICIA GALLOWAY, et al.,

Defendants.

 

SCHEDULING ORDER

 

After a review of the pleadings in this case, the court has
determined that this order should be entered for the purposes of
scheduling dates for the completion of certain pre-trial
activities; the following dates are established as the final dates
for:

FILING MOTIONS TO JOIN PARTIES: Tuesdav, September 5, 2005

 

FILING MOTIONS TO AMEND PLEADINGS: Tuesda'_y[l September 5c 2005

FILING PRE-TRIAL MOTIONS OF ANY OTHER KIND: Monday_l December 5z
2005

COMPLETING ALL DISCOVERY pursuant to Federal Rules of Civil
Procedure 26 through 35 and Rule 37: Wednesdayg October 5, 2005

This case is set for a non-jury trial. The pretrial order
date, pretrial conference date, and trial date will be set by the
presiding judge.

This order will not be modified except upon showing of good
cause. This order effectively GRANTS plaintiff's motion for trial
date (dkt #12).

lt is SO ORDERED.

 

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TU M. PHAM
United States Magistrate Judge

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This document entered on the docket sheet m compliance Date

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02605 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

